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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                   Judge John L. Kane

   Master Docket No. 09-md-02063-JLK-KMT (MDL Docket No. 2063)

   IN RE: OPPENHEIMER ROCHESTER FUNDS GROUP SECURITIES
   LITIGATION

   This document relates to:    In re California Municipal Fund

                                09-cv-01484-JLK-KMT (Lowe)
                                09-cv-01485-JLK-KMT (Rivera)
                                09-cv-01486-JLK-KMT (Tackmann)
                                09-cv-01487-JLK-KMT (Milhem)

          _________________________________________________________________

                  DECLARATION OF MARC HABER IN SUPPORT OF
           PLAINTIFFS’ MOTION TO EXCLUDE TESTIMONY OF OZGUR KAN
          _________________________________________________________________


          I, Marc Haber, declare as follows:

          1.     I am an attorney at Sparer Law Group and am admitted to practice in this

   District. I submit this Declaration in support of Plaintiff’s Motion to Exclude Testimony

   of Ozgur Kan. If called to testify as to the contents of this declaration, I could and would

   competently do so.

          2.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the

   March 13, 2015 Expert Report Of Neil G. Budnick, Plaintiff’s expert.

          3.     Attached hereto as Exhibit 2 is a true and correct copy of the February 25,

   2016 revised Expert Report Of Ozgur B. Kan, Defendants’ expert.
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         4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts from

   Deposition Exhibit 526, itself an excerpt from Herwig M. Langohr and Patricia T.

   Langohr, The Rating Agencies and their Credit Ratings - What They Are, How They Work

   and Why They Are Relevant (John Wiley Sons Ltd. 2008).

         5.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the

   April 5, 2016 deposition transcript of Ozgur B. Kan.

         6.     Attached hereto as Exhibit 5 is a true and correct copy of the Errata Sheet

   for the April 5, 2016 deposition transcript of Ozgur B. Kan.

         7.     Attached hereto as Exhibit 6 is a true and correct copy of Standard &

   Poor’s Global Credit Portal – RatingsDirect – Rating Performance And Comparability:

   2011 Update On The Modified Gini Coefficient Study (June 16, 2011) (the “S&P Report).

         8.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts from

   Deposition Exhibit 529, Moody’s Investors Service, Global Credit Research, Special

   Comment - Measuring The Performance Of Corporate Bond Ratings (April 2003)

   (“Moody’s Special Comment”).

         9.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts from

   Moody’s Investor Service, Special Comment, US Municipal Bond Defaults and

   Recoveries, 1970-2014 (July 24, 2015).




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            10.    Attached hereto as Exhibit 9 is a true and correct copy of current webpage

   printouts from Moody’s Investors Service and Moody’s Analytics,

   https://www.moodys.com/Pages/atc.aspx (last accessed June 13, 2016).

            11.    Attached hereto as Exhibit 10 is a true and correct copy of the Curriculum

   Vitae of Ozgur B. Kan, from the Berkeley Research Group webpage,

   http://www.thinkbrg.com/media/bio/323_Kan_Ozgur_CV.pdf (last accessed June 13,

   2016).

            12.    Attached hereto as Exhibit 11 is a true and correct copy of the Declaration

   Of Mark Adelson dated June 16, 2016, former chief credit officer for Standard & Poor’s

   and current editor of “The Journal of Structured Finance.”

            I declare, under penalty of perjury, that the foregoing is true and correct to the best

   of my knowledge and that this declaration was executed on June 21, 2016 in San

   Francisco, California.

                                                                     /s/ Marc Haber
                                                                      Marc Haber




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                               CERTIFICATE OF SERVICE

         I hereby certify that on June 21, 2016, I served a true and correct copy of the

   foregoing Plaintiffs’ Motion to Exclude Testimony of DECLARATION OF MARC

   HABER IN SUPPORT OF PLAINTIFFS’ MOTION TO EXCLUDE TESTIMONY OF

   OZGUR KAN with the Clerk of Court using the CM/ECF system.



                                                          /s/ Marc Haber
                                                          Marc Haber




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